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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                  v.                       )
                                           ) Criminal No: 16-10343-ADB
SUNRISE LEE                                )
                  Defendant.               )
__________________________________________)

          MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR MISTRIAL OR
                FOR CURATIVE AND PROSPECTIVE RELIEF

       One Friday March 1, 2019, the defendant, though counsel, moved for a mistrial because

the government elicited salacious testimony from witness Alec Burlakoff that characterized Lee

as a person with a proclivity to engage in morally questionable activity for financial gain over the

objection of counsel. This amounted to a highly prejudicial misuse of propensity evidence with

minimal, if any, probative value. As a result, the admission of the testimony violated Fed. R.

Evid. 403 and 404(b)’s proscriptions and the Fifth and Sixth Amendment to the United States

Constitution.

       In Old Chief v. United States, 519 U.S. 172 (1997), the Supreme Court observed that the

term “unfair prejudice” “speaks to the capacity of some concededly relevant evidence to lure the

factfinder into declaring guilt on a ground different from proof specific to the offense charged.”

Id. At 180. Improper grounds include the misuse of propensity evidence through generalizing a

defendant’s earlier acts “into bad character and taking that as raising the odds that he did the later

bad act now charged.” Id. At 180-81. Moreover, unfair prejudice results where, as here, the

testimony likely provoked an emotional response from the jury and tended to adversely affect the

jury’s attitude towards Lee wholly apart from its judgment as to her guilt or innocence of the




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charged offense. See United States v. Rodriguez, 192 F.3d 946, 951 (10th Cir. 1999); United

States v. Yazzie, 59 F.3d 807, 811 (9th Cir. 1995).

       The government, through testimony based on the unsubstantiated, salacious content of

the anonymous email, has smuggled in forbidden propensity evidence to impermissibly gain a

tactical advantage. Stricken questions and unsubstantiated testimony that Lee may have worked

as an escort for financial gain (which is code for prostitution), and had topless photos on the

internet even if admitted for a limited purpose, requires the jury to impermissibly consider her

character or propensity as a necessary link in the inferential chain. Put another way, to logically

weigh the testimony and parse its limited use, the jury heard questions that gave an inference that

if Lee worked as an escort or operated an escort service for financial gain in the past and had

topless photos on the internet, it is more likely that she committed the charged offense for

financial gain. This is an improper use of character and propensity evidence. See United States

v. Varoudakis, 233 F.3d 113, 118 (1st Cir. 2000) (evidence that has special relevance to an issue

“must not include ‘bad character or propensity as a necessary link in the inferential chain’”);

United States v. Morley, 199 F.3d 129, 133 (3rd Cir. 199) (when bad act evidence is relevant and

admissible for a proper purpose, proponent must articulate how that evidence fits into chain of

inferences “’no link of which may be the inference that the defendant has the propensity to

commit the bad act.’” ) (emphasis supplied).

       At side bar on March 1, 2019, the Court indicated that because the evidence had

probative value against a codefendant, the government was entitled to offer portions of the

evidence. However, the Court’s inquiry should not have ended there. A further balancing test of

the harm to defendant Lee’s Due Process rights to a fair trial would have shown that Lee’s right

out-weighted the government’s professed need to use evidence that was repetitive of other


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evidence in the government’s case. When admissible evidence encounters a constitutionally

protected right the government’s ability to use the evidence must always yield to the

constitutional right. Afterall, it was the government that decided to join the defendants in a

single conspiracy trial thereby assuming the risk that evidentiary issues would arise that would

prevent the use of certain evidence that would be otherwise admissible in separate trials.

         The highly prejudicial impact of this salacious propensity evidence cannot now be

undone. No limiting instruction can cure the prejudice Lee has suffered. As a result, a mistrial is

necessary. The Due Process Clause of the Fifth Amendment to the United States Constitution

mandates that the court declare a mistrial as to Sunrise Lee.

         Should the Court determine not to grant a mistrial, it should provide the following

alternative relief, although Lee does not concede that such relief would be adequate:

    1. Strike Burlakoff’s testimony that touches upon the content of the email and instruct the

         jury to disregard and not consider it for any purpose;

    2. Preclude the government from re-offering Exhibit 0664 for any purpose;1 and

    3. Preclude the government from eliciting further testimony from any witness (including

         Burlakoff) on the extrajudicial statements contained in Exhibit 0664.

    This requested alternative relief will insure Lee does not suffer further prejudice from the

highly inflammatory extrajudicial statements made by an anonymous, biased person who the

government does not intend to call as a witness. This road has now been traveled and the

government has made its collateral, limited point on a marginal issue.2 To delve into these



1
  This court has already ruled that the exhibit will not be admitted. This prospective relief is requested so that the
government is on notice in no uncertain terms that it may not be re-offered.
2
  Burlakoff’s earlier testimony regarding the company’s hiring practices – “PHD” – renders dubious the need for
evidence to show Kapoor’s knowledge/notice on this issue. Considering his testimony thus far this highly
prejudicial evidence is also needlessly cumulative and excludable on that basis under Rule 403.


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extrajudicial inflammatory statements further will (if it has not already occurred) irreparably

prejudice and compromise the jury’s impartiality as to Lee and be violative of her Sixth

Amendment confrontation right 3 and her Fifth Amendment due process right to a fair trial.

                                                     Respectfully submitted,



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                                      CERTIFICATE OF SERVICE

        I, Peter Charles Horstmann, certify that I have caused a copy of this Memorandum to be
        served through the ECF system on AUSAs Nathaniel Yeager, David Lazaras and Fred
        Wyshack, United States Attorneys Office, One Courthouse Way, Boston, MA
        02210, on March 3, 2019.




                                                     Peter Charles Horstmann, Esquire




3
 Admission of Exhibit 0664 would violate Lee’s confrontation rights under the Sixth Amendment to the United
States Constitution (i.e., she is unable to refute or challenge the inflammatory hearsay statements through cross-
examination). As this court recognized, the truthfulness of the statements cannot be known and the email’s
anonymous author may be biased. Lee would be unable to confront and cross-examine any witness on reliability or
bias. See United States v. Houlihan, 92 F.2d 1271, 1296 (1st Cir. 1996) (“[t]o demonstrate a violation of the
Confrontation Clause, a defendant must show that he was prohibited from engaging in otherwise appropriate cross-
examination designed to show a prototypical form of bias on the part of a witness”).



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